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     Attorneys for the United States of America
10

11                                  UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13                                          OAKLAND DIVISION

14   UNITED STATES OF AMERICA,                      )   NO. CR 20-00266 JST
                                                    )
15           Plaintiff,                             )   UNITED STATES’ AMENDED EXHIBIT LIST
                                                    )
16      v.                                          )
                                                    )
17   MICHAEL BRENT ROTHENBERG,                      )   Trial Date:   October 31, 2022, 8:00 a.m.
                                                    )
18           Defendant.                             )   Court:        Hon. Jon S. Tigar, Courtroom 6
                                                    )
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     UNITED STATES’ AMENDED EXHIBIT LIST
     CR 20-00266 JST
              Case 4:20-cr-00266-JST Document 170 Filed 10/26/22 Page 2 of 8




 1          The United States provides the attached notice of exhibits it may introduce at trial in its case-in-

 2 chief.

 3          The United States reserves the right to amend or supplement this list as appropriate as trial

 4 preparations progress.

 5

 6 DATED: October 26, 2022                                        Respectfully submitted,

 7                                                                STEPHANIE M. HINDS
                                                                  United States Attorney
 8

 9                                                                           /s/
10                                                                KYLE F. WALDINGER
                                                                  NICHOLAS J. WALSH
11                                                                Assistant United States Attorneys

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     UNITED STATES’ AMENDED EXHIBIT LIST
     CR 20-00266 JST                   1
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                                   UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

                                   United States v. Michael Brent Rothenberg
                                               CR 20-00266 JST
                                        United States' Trial Exhibit List

EXHIBIT MARKED ADMITTED                         DESCRIPTION OF EXHIBIT                                         BATES RANGE
NUMBER

  1                       Email chain between Mike Rothenberg and Michelle Jandu, dated 07/29/2014 SVB-0007621 - SVB-0007624

  2                       Rothenberg Uniform Residential Loan Application, with a 07/29/2014             SVB-0007352 - SVB-0007356
                          signature date
  3                       Document setting out Assets, Liabilities, and Equity, dated 07/29/2014         SVB-0006627
                          ("7/29/14"), provided to Silicon Valley Bank
  4                       Rothenberg Certification and Authorization, with a 07/28/2014 signature date   SVB-0007334 - SVB-0007335
                          (two versions)
  5                       Rothenberg Personal Finance Statement, dated 07/28/2014, provided to Silicon   SVB-0006629 - SVB-0006635
                          Valley Bank
  6                       Rothenberg statement regarding capital call commitments, provided to Silicon   SVB-0006636
                          Valley Bank, with metadata listing author as "Michael"
  7                       Rothenberg Schedules K-1 for 2012 and 2013, provided to Silicon Valley         SVB-0006637 - SVB-0006644
                          Bank                                                                           or
                                                                                                         SVB-0006480 - SVB-0006487
  8                       Letter from Thomas Leep re: "Compensation for Michael Rothenberg," dated       SVB-0006645
                          07/28/2014
  9                       Personal Financial Statement                                                SVB-0006121
  10                      Merrill Lynch document showing balances of "CMA Pledged" ("Merrill          SVB-0007618 - SVB-0007620
                          Checking"), "LMA" ("Merrill Credit Line"), and "Personal Savings/Checking"  or
                          accounts, dated 07/31/2014, provided to Silicon Valley Bank                 SVB-0006488 - SVB-0006490
                                                                                                      or
                                                                                                      SVB-0006646 - SVB-0006648
  11                      Rothenberg tax returns for 2012 and 2013, provided to Silicon Valley Bank   SVB-0006649 - SVB-0006716
                                                                                                      or
                                                                                                      SVB-0006491 - SVB-0006558
  12                      Confidential Private Offering Memorandum, Rothenberg Ventures Fund II,      SVB-0007627 - SVB-0007646
                          LLC, provided to Silicon Valley Bank                                        or
                                                                                                      SVB-0006717 - SVB-0006736
                                                                                                      or
                                                                                                      SVB-0006559 - SVB-0006578
  13                      "Fund II" PowerPoint deck, provided to Silicon Valley Bank                  SVB-0007649 - SVB-0007661
                                                                                                      or
                                                                                                      SVB-0006737 - SVB-0006749
                                                                                                      or
                                                                                                      SVB-0006579 - SVB-0006591
  14                      "Portfolio Summary" PowerPoint deck, provided to Silicon Valley Bank        SVB-0007662 - SVB-0007668
                                                                                                      or
                                                                                                      SVB-0006750 - SVB-0006756
                                                                                                      or
                                                                                                      SVB-0006592 - SVB-0006598
  15                      "Portfolio Companies, Fund II" PowerPoint deck, provided to Silicon Valley SVB-0007669 - SVB-0007682
                          Bank                                                                        or
                                                                                                      SVB-0006757 - SVB-0006770
                                                                                                      or
                                                                                                      SVB-0006599 - SVB-0006612
  16                      Rothenberg Credit Report prepared for Silicon Valley Bank, dated 08/01/2014 SVB-0007338 - SVB-0007351
                                                                                                      or
                                                                                                      SVB-0006466 - SVB-0006479
                                                                                                      or
                                                                                                      SVB-0006613 - SVB-0006626
  17                      Email chain between Mike Rothenberg and George Pires, dated 08/02/2014      SVB-0007602 - SVB-0007605
  18                      Property Sciences Appraisal, as of 08/05/2014                               SVB-0007462 - SVB-0007497

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                Case 4:20-cr-00266-JST Document 170 Filed 10/26/22 Page 4 of 8
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                                        United States' Trial Exhibit List

EXHIBIT MARKED ADMITTED                         DESCRIPTION OF EXHIBIT                                          BATES RANGE
NUMBER

  19                      Initial Disclosures sent to Rothenberg by Silicon Valley Bank on 08/06/2014     SVB-0007357 - SVB-0007424
  20                      Uniform Residential Loan Application contained in Initial Disclosures sent to   SVB-0007358 - SVB-0007361
                          Rothenberg on 08/06/2014 (unsigned)
  21                      Chicago Title Company Preliminary Report, printed 08/06/2014                    SVB-0007431 - SVB-0007454
  22                      Silicon Valley Bank Loan Approval Sheet, including numerous sub-parts           SVB-0007683 - SVB-0007704
                          (CAR# 254630), multiple dates
  23                      Silicon Valley Bank Loan Approval Sheet, Addendum Approval, including           SVB-0007705 - SVB-0007716
                          numerous sub-parts (CAR# 255533), multiple dates
  24                      Notice of Loan Approval letter from George Pires to Mike Rothenberg, dated      SVB-0007505
                          08/18/2014
  25                      Rothenberg Uniform Residential Loan Application, with an 08/21/2014             SVB-0007569 - SVB-0007572
                          signature date
  26                      Rothenberg Financial Status Affidavit, with an 08/21/2014 signature date        SVB-0007558 - SVB-0007559
  27                      Proof of FDIC-insured status for Silicon Valley Bank, FDIC certificate number   FDIC000005, FDIC000007
                          24735
  28                      Paulette Brunk Journal Entry                                                 US-000719 - US000720, US-
                                                                                                       000729-US-000730
  29                      Paulette Brunk record memorializing retention and payment by Vista National US-000721
                          LLC regarding Rothenberg
  30                      Paulette Brunk invoice to to Vista National LLC                              US-000722
  31                      Fully executed loan document package sent from Chicago Title Company to      SVB-0007518 - SVB-0007601
                          Silicon Valley Bank, dated 08/22/2014
  32                      Silicon Valley Bank record showing wiring of loan funds (funds were wired to Forthcoming
                          CTC's account at U.S. Bank account number -5771)
  33                      Rothenberg Ventures Fund II LLC General Ledger as of December 31, 2014       RVMC-00001779 - RVMC-
                                                                                                       00001793
                                                                                                       or
                                                                                                       SEC-DOJ-EPROD-000044895 -
                                                                                                       SEC-DOJ-EPROD-000044909

  34                      Silicon Valley Bank Loan File                                                   SVB-0007334 - SVB-0007716
  35                      Stanford Federal Credit Union records showing Rothenberg payoff of loan         STANFORDFCU-000030 -
                          ($868,079.89 on ~8/27/2014)                                                     STANFORDFCU-000031
  36                      Stanford Federal Credit Union records regarding 2013 mortgage                   STANFORDFCU-000018 -
                                                                                                          STANFORDFCU-000088
  37                      Chicago Title Company escrow file                                               CTC-000002 - CTC-000276
  38                      Financial Status Affidavit, with an 08/21/2014 signature date                   CTC-000182 - CTC-000183
  39                      Borrower Identification, dated 08/21/2014                                       CTC-000179
  40                      Rothenberg identification documents provided to Chicago Title Company           CTC-000237 - CTC-000238
                          (driver's license and Amex card)
  41                      Signature/Name Affidavit and AKA Statement                                      CTC-000180 - CTC-000181
  42                      Deed of Trust                                                                   CTC-000184 - CTC-000197
  43                      Final Settlement Statement                                                      CTC-000091 - CTC-000094
  44                      Outbound Wire Notification re: payment of $868,079.89 payment to Stanford       CTC-000095 - CTC-000096
                          Federal Credit Union
  45                      Outbound Wire Notification re: payment of $608,104.47 payment to Merrill        CTC-000097 - CTC-000098
                          Lynch
  46                      Letter from Hapi Yamato to Rothenberg, dated 08/27/2014                         CTC-000264
  47                      Merrill Lynch statement for account number -6054, 05/31/2014 - 06/30/2014       SEC-DOJ-EPROD-000097964 -
                                                                                                          SEC-DOJ-EPROD-000097967




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EXHIBIT MARKED ADMITTED                         DESCRIPTION OF EXHIBIT                                      BATES RANGE
NUMBER

  48                      Merrill Lynch statement for account number -6054, 07/01/2014 - 07/31/2014   SEC-DOJ-EPROD-000097968 -
                                                                                                      SEC-DOJ-EPROD-000097971

  49                      Merrill Lynch statement for account number -6054, 08/01/2014 - 08/29/2014   SEC-DOJ-EPROD-000097972 -
                                                                                                      SEC-DOJ-EPROD-000097975

  50                      Merrill Lynch statement for account number -6052, 05/31/2014 - 06/30/2014   SEC-DOJ-EPROD-000097724 -
                                                                                                      SEC-DOJ-EPROD-000097729

  51                      Merrill Lynch statement for account number -6052, 07/01/2014 - 07/31/2014   SEC-DOJ-EPROD-000097730 -
                                                                                                      SEC-DOJ-EPROD-000097737

  52                      Merrill Lynch statement for account number -6052, 08/01/2014 - 08/29/2014   SEC-DOJ-EPROD-000097738 -
                          (showing $608,104.47 deposit from Chicago Title (see CTC-000097))           SEC-DOJ-EPROD-000097745

  53                      Merrill Lynch statement for account number -6052, 09/01/2014 - 09/30/2014   SEC-DOJ-EPROD-000097746 -
                                                                                                      SEC-DOJ-EPROD-000097752

  54                      Email chain between Rothenberg and Jenkins, 03/31/2014                      SEC-DOJ-EPROD-000098419 -
                                                                                                      SEC-DOJ-EPROD-000098422

  55                      Email chain between Rothenberg and Bolt, 04/16/2014 - 04/17/2014            SEC-DOJ-EPROD-000098256 -
                                                                                                      SEC-DOJ-EPROD-000098259

  56                      Email chain between Rothenberg and Kelty, 06/18/2014 - 06/27/2014           SEC-DOJ-EPROD-000098203 -
                                                                                                      SEC-DOJ-EPROD-000098209

  57                      Email from Kelty to Rothenberg, cc Bolt, 06/18/2014                         SEC-DOJ-EPROD-000098260 -
                                                                                                      SEC-DOJ-EPROD-000098261

  58                      Email from Rothenberg to Kelty, cc Bolt, 06/18/2014                         SEC-DOJ-EPROD-000098412 -
                                                                                                      SEC-DOJ-EPROD-000098414

  59                      Email chain between Rothenberg and Bolt, 07/16/2014 - 07/28/2014            SEC-DOJ-EPROD-000098277 -
                                                                                                      SEC-DOJ-EPROD-000098282

  60                      Email chain between Rothenberg and Allscheid, cc Kelty, Jenkins, 08/01/2014 - SEC-DOJ-EPROD-000098362 -
                          08/04/2014                                                                    SEC-DOJ-EPROD-000098364

  61                      Email chain between Rothenberg and Kelty, 06/18/2014                        SEC-DOJ-EPROD-000098365 -
                                                                                                      SEC-DOJ-EPROD-000098379

  62                      Email chain between Rothenberg, Kelty, Bolt, 06/19/2014 - 06/20/2014        SEC-DOJ-EPROD-000099170 -
                                                                                                      SEC-DOJ-EPROD-000099174

  63                      Email from Kelty to Rothenberg, bcc Bolt, 07/10/2014                        SEC-DOJ-EPROD-000099376 -
                                                                                                      SEC-DOJ-EPROD-000099383

  64                      Email from Rothenberg to Kelty, Bolt, 07/29/2014                            SEC-DOJ-EPROD-000099523 -
                                                                                                      SEC-DOJ-EPROD-000099526

  65                      Email from Rothenberg to Kelty, Bolt, with attachments, 07/29/2014          SEC-DOJ-EPROD-000099145 -
                                                                                                      SEC-DOJ-EPROD-000099158

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                Case 4:20-cr-00266-JST Document 170 Filed 10/26/22 Page 6 of 8
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EXHIBIT MARKED ADMITTED                          DESCRIPTION OF EXHIBIT                                       BATES RANGE
NUMBER

  66                      Email chain between Rothenberg, Kelty, Bolt, 07/29/2014                      SEC-DOJ-EPROD-000098426 -
                                                                                                       SEC-DOJ-EPROD-000098434

  67                      Email from Allscheid to Rothenberg, with attachments, 08/01/2014             SEC-DOJ-EPROD-000099764 -
                                                                                                       SEC-DOJ-EPROD-000099766

  68                      Email from Allscheid to Rothenberg, with attachment, 08/01/2014              SEC-DOJ-EPROD-000099941 -
                                                                                                       SEC-DOJ-EPROD-000099952

  69                      Email chain between Rothenberg and Allscheid, 08/01/2014                     SEC-DOJ-EPROD-000098403 -
                                                                                                       SEC-DOJ-EPROD-000098406

  70                      Email chain between Kelty, Rothenberg, cc Jenkins, 08/25/2014 - 09/03/2014   SEC-DOJ-EPROD-000098444 -
                                                                                                       SEC-DOJ-EPROD-000098447
  71                      Email chain between Jenkins and Rothenberg, 04/02/2015                       SEC-DOJ-EPROD-000098130
  72                      Bank of America account statements for account number -2573, covering the    BOA-0002940 - BOA-0003039
                          period 12/21/2013 - 01/22/2015                                               or
                                                                                                       BOA-0000189 - BOA-000288

  73                      Bank of America account statement for account number -2573, 06/21/2014 -     BOA-0002986 - BOA-0002991
                          07/23/2014                                                                   or
                                                                                                       BOA-0000235 - BOA-0000240
  74                      Bank of America account statement for account number -2573, 07/24/2014 -     BOA-0002992 - BOA-0002999
                          08/21/2014                                                                   or
                                                                                                       BOA-0000241 - BOA-0000248
  75                      Bank of America account statement for account number -2573, 08/22/2014 -     BOA-0003000 - BOA-0003007
                          09/22/2014                                                                   or
                                                                                                       BOA-0000249 - BOA-0000256


  76                      Merrill Lynch CMA account -6052 opening paperwork and packet                 SEC-DOJ-EPROD-000098019 -
                                                                                                       SEC-DOJ-EPROD-000098084

  77                      Merrill Lynch LMA agreement                                                  SEC-DOJ-EPROD-000099084 -
                                                                                                       SEC-DOJ-EPROD-000099100

  78                      Statement of Purpose for an Extension of Credit, signed by defendant         SEC-DOJ-EPROD-000099101 -
                                                                                                       SEC-DOJ-EPROD-000099108

  79                      Notice of Default regarding Bryant Street condominium, filed 12/06/2019      US-FBI-009505 - US-FBI-
                                                                                                       009508
  80                      Notice of Default regarding Bryant Street condominium, filed 06/16/2020      US-000731 - US000734
  81                      Trustee's Deed Upon Sale regarding Bryant Street condominium, filed          US-000735 - US000737
                          09/24/2020
  82                      California Secretary of State records for Rothenberg Ventures Management US-000746 - US000747
                          Company
  83                      California Secretary of State records for Golden Apportunity LLC         US-000744 - US000745
  84                      SVB bank statements for Rothenberg Ventures Fund I LLC account numbered SVB-0000011 - SVB-0000066
                          -2623, 09/30/2012 to 10/31/2014

  85                      SVB bank statements for Rothenberg Ventures Fund II LLC account numbered SVB-00001322 - SVB-0001368
                          -7483, 09/30/2013 to 10/31/2014

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                Case 4:20-cr-00266-JST Document 170 Filed 10/26/22 Page 7 of 8
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                                   United States v. Michael Brent Rothenberg
                                               CR 20-00266 JST
                                        United States' Trial Exhibit List

EXHIBIT MARKED ADMITTED                         DESCRIPTION OF EXHIBIT                                         BATES RANGE
NUMBER

  86                      SVB bank statements for Rothenberg Ventures Management Company LLC            SVB-0000141 - SVB-0000292
                          account numbered -8931, 09/30/2012 to 10/31/2014
  87                      American Express records for accounts ending -2005 and -3003                  AMEX-00000989 -
                                                                                                        AMEX-00001177
  88                      American Express records for accounts ending -3001 and -4009                  AMEX-00003051 -
                                                                                                        AMEX-00003224
  89                      Photos of Bryant Street condo from Compass,                                   US-000738 - US000743
                          https://www.compass.com/listing/712-bryant-street-unit-6-san-francisco-ca-
                          94107/1098573215476907465/
  90                      First American Title escrow file                                              FATIC-00004147 -
                                                                                                        FATIC-00005008
  91                      Bank of America account statement for account number -2573, 05/22/2014 -      BOA-0002980 - BOA-0002985
                          06/20/2014
  92                      Bank of America signature cards                                               BOA-0000005 - BOA-0000014

  93                      Bank of America signature cards                                               BOA-0001180 - BOA-0001243

  94                      First Amended and Restated Operating Agreement of Rothenberg Ventures         RVMC-00000322 - RVMC-
                          Fund II, LLC                                                                  00000357
  95                      Rothenberg Ventures Fund II, LLC, Summary of Principal Terms                  RV_INV_GRP_000035 -
                                                                                                        RV_INV_GRP_000058
  96                      Stanford Federal Credit Union account statements                              STANFORDFCU-000118 -
                                                                                                        STANFORDFCU-000150
                                                                                                        and
                                                                                                        STANFORDFCU-000008 -
                                                                                                        STANFORDFCU-000017
  97                      Merrill Lynch Activity History                                                SEC-DOJ-EPROD-000098085 -
                                                                                                        SEC-DOJ-EPROD-000098184

  98                      Merrill Lynch Enrollment forms                                                SEC-DOJ-EPROD-000097872 -
                                                                                                        SEC-DOJ-EPROD-000097963

  99                      Merrill Lynch emails with Rothenberg                                          SEC-DOJ-EPROD-000098505 -
                                                                                                        SEC-DOJ-EPROD-000099033

  100                     Bank of America signature card for account number -2573                       BOA-0001188
  101                     Amended and Restated Management Agreement by and between Rothenberg           RVMC-00000358 - RVMC-
                          Ventures Management Company, LLC, and Rothenberg Ventures Fund II             00000361
                          LLC, November 2013
  102                     Rothenberg Ventures Management Company, LLC, name changes to Frontier         No Bates numbers
                          Technology Venture Capital LLC and then to Rothenberg Ventures LLC

  103                     Rothenberg Ventures Fund II, LLC, organizing documents and name change        No Bates numbers
                          documents
  104                     Rothenberg Ventures Management Company, LLC, U.S. Return of Partnership       IRS_ITR-000327 - IRS_ITR-
                          Income, 2014 [defendant Rothenberg's SSN redacted; other individual's SSN's   000356
                          and addresses redacted]
  105                     Michael Rothenberg, U.S. Individual Income Tax Return, 2014 [defendant        IRS_ITR-000120 - IRS_ITR-
                          Rothenberg's SSN redacted]                                                    000175
  106                     Thomas Leep letter to Michelle Jandu and Matt Borges at SVB, dated            US-BOFSF-007709
                          04/02/2015
  107                     Change in Terms Request Notification re: mortgage loan                        SVB-0007498 - SVB-0007504
  108                     The Property Sciences Group Invoice                                           SVB-0007457 - SVB-0007458

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                Case 4:20-cr-00266-JST Document 170 Filed 10/26/22 Page 8 of 8
                                   UNITED STATES DISTRICT COURT
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EXHIBIT MARKED ADMITTED                        DESCRIPTION OF EXHIBIT                                     BATES RANGE
NUMBER

  109                     Email chain between Robertson, Yamato, 08/04/2014                         CTC-0000024 - CTC0000026
  110                     Email chain re: Wire transfer, 08/26/2014                                 CTC-0000194 - CTC-0000195
  111                     Wire Notification                                                         CTC-0000214
  112                     Wire Notification                                                         CTC-0000215
  113                     Email chain between Rothenberg, others, 08/26-27/2014                     CTC-0000224 - CTC-0000228
  114                     Email chain between Rothenberg, others, 08/26-27/2014                     CTC-0000229 - CTC-0000233
  115                     Text chain between Rothenberg and Leep, 07/15/2014 & 07/28/2014           TOMLEEP000001 -
                                                                                                    TOMLEEP000002
  116                     My Merrill account usage by Rothenberg, summary                           MLOCT2022PROD000001
  117                     My Merrill account usage by Rothenberg, detail, 07/01/2014 - 08/29/2014   MLOCT2022PROD000002
  118                     Silicon Valley Bank Verification of Employment Form                       SVB-0007510
  119                     Email re: Appraisal                                                       SVB-0007429
  120                     Statements for Rothenberg personal SVB bank account -2874, 08/28/2014 -   SVB-0008982 - SVB-0008996
                          12/31/2014
  121                     Signature card for Rothenberg personal SVB bank account -2874             SVB-0009430 - SVB-0009433




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